Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 1 of 30




   SCHEDULE
      A
Case 7:25-cv-00091        Document 1-1       Filed on 03/04/25 in TXSD         Page 2 of 30




                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


          The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved December 27, 2020, as Public Law 116-

260, div. F, tit. II, 134 Stat. 1452, which appropriated the funds that shall be used for the

taking.
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 3 of 30




   SCHEDULE
       B
Case 7:25-cv-00091       Document 1-1        Filed on 03/04/25 in TXSD         Page 4 of 30




                                      SCHEDULE B

                                   PUBLIC PURPOSE

       The public purpose for which said property is taken is to construct, install, operate,
and maintain border barrier, including gates and power to operate such gates as well as
roads that will be required to construct, operate, and maintain the border barrier.
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 5 of 30




   SCHEDULE
      C
Case 7:25-cv-00091        Document 1-1        Filed on 03/04/25 in TXSD         Page 6 of 30




                                      SCHEDULE C

                                 LEGAL DESCRIPTION

                                    Starr County, Texas

Tract: RGV-RGC-8042
Owner: Unknown Heirs of Pedro Ramirez, et al.
Acres: 0.118

Being a 0.118 of one acre (5,155 square feet) parcel of land, more or less, being out of the
Nicolas Vela Survey, Abstract No. 179, Porción 82, Starr County, Texas, being out of
Share 107-B of the Certified Copy of Final Judgement recorded in Volume 133, Page 1,
Deed Records of Starr County, Texas and being out of a called 1.66 acre tract conveyed to
America Arredondo by Deed of Gift recorded in Volume 1096, Page 812, Official Records
of Starr County, Texas, said parcel of land being more particularly described by metes and
bounds as follows;

Commencing at a found 2” iron pipe in the north line of the 1.66 acre tract, said point
being at the southwest corner of a called 8.280 acre tract described in the Certified Copy
of Final Judgement recorded in Volume 133, Page 1, Deed Records of Starr County, Texas
(Share 71-B) and being the same tract of land conveyed to Carmen S. Gonzalez by Special
Warranty Deed recorded in Volume 1083, Page 784, Official Records of Starr County,
Texas and an easterly exterior corner of a called 40.533 acre tract described in the Certified
Copy of Final Judgement recorded in Volume 133, Page 1, Deed Records of Starr County,
Texas (Share 110) and being the same tract of land conveyed to Carmen S. Gonzalez by
Special Warranty Deed recorded in Volume 1083, Page 784, Official Records of Starr
County, Texas, said point having the coordinates of N=16648902.750, E=891653.611, said
point bears N 40°43’28” W, a distance of 1946.81’ from United States Army Corps of
Engineers Control Point No. TGT-14;

Thence: N 80°39'00" W (S 80°45'00" E, Record), with the north line of the 1.66 acre tract
and a southerly line of Share 110, for a distance of 14.61’ to a set 5/8” rebar with an MDS
LAND SURVEYING aluminum disk capped survey marker stamped with the following
description: “RGV-RGC-8006-1=8042-1” for the Point of Beginning and north corner of
Tract RGV-RGC-8042, said point being in the north line of the 1.66 acre tract and a
southerly line of Share 110, said point having the coordinates of N=16648905.124,
E=891639.190;

Thence: S 32°55'35" E, departing the southerly line of Share 110, over and across the 1.66
acre tract, for a distance of 89.00’ to a set 5/8” rebar with an MDS LAND SURVEYING
aluminum disk capped survey marker stamped with the following description: “RGV-
RGC-8007-5=8042-2” for the southeast corner of Tract RGV-RGC-8042, said point being
in the south line of the 1.66 acre tract and the north line of the south remainder of Share
Case 7:25-cv-00091       Document 1-1        Filed on 03/04/25 in TXSD        Page 7 of 30




                                 SCHEDULE C (Cont.)

107-B as conveyed to Pedro Ramirez, Federico Ramirez, Eusebio Ramirez de Garcia,
Maria Ramirez de Lopez and Juan Ramirez Vela by Certified Copy of Final Judgement
recorded in Volume 133, Page 1, Deed Records of Starr County, Texas;

Thence: N 80°45'00" W (N 80°45'00" W, Record), with the south line of the 1.66 acre
tract and the north line of the south remainder of Share 107-B, for a distance of 108.06’ to
a point for the southwest corner of Tract RGV-RGC-8042, said point being at the southwest
corner of the 1.66 acre tract and the northwest corner of the south remainder of Share 107-
B, said point being in the east line of Share 110;

Thence: along the common lines of the 1.66 acre tract and Share 110, the following courses
and distances:

• N 09°21'00" E (N 09°15'00" E, Record), for a distance of 66.04’ to a point for the
northwest corner of Tract RGV-RGC-8042, said point being at the northwest corner of the
1.66 acre tract and an easterly interior corner of Share 110;

• S 80°39'00" E (S 80°45'00" E, Record), for a distance of 48.19’ to the Point of
Beginning.
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 8 of 30




    SCHEDULE
        D
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 9 of 30



                              SCHEDULE D

                              MAP or PLAT

                        LAND TO BE CONDEMNED
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 10 of 30



                           SCHEDULE D (Cont.)
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 11 of 30



                           SCHEDULE D (Cont.)
Case 7:25-cv-00091     Document 1-1     Filed on 03/04/25 in TXSD   Page 12 of 30



                               SCHEDULE D (Cont.)




 Tract: RGV-RGC-8042
 Owner: Unknown Heirs of Pedro Ramirez, et al.
 Acreage: 0.118
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 13 of 30




     SCHEDULE
         E
Case 7:25-cv-00091        Document 1-1        Filed on 03/04/25 in TXSD         Page 14 of 30



                                       SCHEDULE E

                                      ESTATE TAKEN

                                     Starr County, Texas

 Tract: RGV-RGC-8042
 Owner: Unknown Heirs of Pedro Ramirez, et al.
 Acres: 0.118

        The estate taken is fee simple, subject to existing easements for public roads and
 highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
 and appurtenant rights for exploration, development, production and removal of said
 minerals.

        Excepting and excluding all interests in water rights and water distribution and
 drainage systems, if any, provided that any surface rights arising from such water rights or
 systems are subordinated to the United States’ construction, operation, and maintenance of
 the border barrier.
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 15 of 30




      SCHEDULE
          F
Case 7:25-cv-00091      Document 1-1      Filed on 03/04/25 in TXSD      Page 16 of 30




                                    SCHEDULE F

                       ESTIMATE OF JUST COMPENSATION
     The sum estimated as just compensation for the land being taken is FOUR

 THOUSAND, ONE HUNDRED THIRTY DOLLARS AND NO/100 ($4,130.00), to be

 deposited herewith in the Registry of the Court for the use and benefit of the persons

 entitled thereto.
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 17 of 30




      SCHEDULE
         G
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 18 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 19 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 20 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 21 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 22 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 23 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 24 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 25 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 26 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 27 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 28 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 29 of 30
Case 7:25-cv-00091   Document 1-1   Filed on 03/04/25 in TXSD   Page 30 of 30
